 &lt;div style="border: 3px solid #4991C5; font:1.5em; font-family:tahoma,calibri,arial; font-weight:bold; color:#1A4369; padding:5px; margin:10px; text-align:center"&gt;  The specified URL cannot be found. &lt;/div&gt;&lt;!--0123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234567890123456789012345678901234--&gt;
